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     Pernell W. McGuire, SBN 015909
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     Attorneys for Debtor
 7
                                    IN THE UNITED STATES BANKRUPTCY COURT
 8
                                              DISTRICT OF ARIZONA
 9

IO
     In re:                                                   n Chapter 13Proceedings

11   KEITH MAUREL WILLIAMS,                                  Case No.: 2:17-bk-14000-ps

12                                           Debtor.         STIPULATED ORDER CONFIRMING
13
                                                             SECOND AMENDED CHAPTER 13 PLAN

14
             The Second Amended Chapter 13 Plan having been properly noticed out to creditors and any
15   objection to confirmation having been resolved,

16              IT IS ORDERED confirming the Second Amended Chapter l 3 Plan ("Plan") of the Debtor as
     follows:
17
              A. INCOME SUBMITTED TO THE PLAN. Debtor shall submit the following amounts of
18
     future income to the Trustee for distribution nnder the Plan.
19
           (I) Future Earnings or Income. Debtor shall make the following monthly Plan payments:
20
              Months                     Amount
21              1                        $2,000.00
                2-3                      $1,333.00
22              4                        $1,334.00
                5-60                     $2,000.00
23
              The payments are due on or before the 27th day of each month commencing December, 2017. Debtor
24
              is instructed to remit all payments on or before the stated due date each month. Debtor is advised that
25
              when payments are remitted late, additional interest may accrue on secured debts, which may result in
              a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the Case
26            can be discharged. This requirement is effective regardless of Plan payments suspensions, waivers or
              moratoriums, and must be included in any Plan Confirmation Orders.
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Case 2:17-bk-14000-PS               Doc 62     Filed 08/03/18 Entered 08/03/18 14:28:54               Desc
                                                   Page 1 of 5
           The Debtor shall provide to the Trustee copies of his federal and state income tax returns for every
 2         year during the duration of the Plan within 30 days after their filing. The purpose is to assist the
           Trustee in determining any change in Debtor's annual disposable income.
 3
          (2) Other Property. None. In the event that other property is submitted to the Trustee by the Debtor, it
 4
              shall be treated as supplemental Plan payments.
 5
             B. DURATION. This Plan shall continue for 60 months from the first regular monthly payment
 6   described in Paragraph (A)(l) above. If, at any time before the end of the Plan period, all claims are paid,
     then the Plan shall terminate. In no event will the term of the Plan be reduced to less than 60 months,
 7   exclusive of any property recovered by the Trustee, unless all allowed claims are paid in full.

 8             C. CLASSIFICATION AND TREATMENT OF CLAIMS. Claims shall be classified as listed
     below. The Plan and this Order shall not constitute an informal proof of claim for any creditor. This Order
 9
     does not allow claims. Claims allowance is determined by§ 502 and the Federal Rules of Bankruptcy
10
     Procedure. The Trustee shall receive the percentage fee on the Plan payments pursuant to 28 U.S.C. § 586
     (e ), then the Trustee will pay secured creditors or allowed claims in the following order:
II
          (1) Administrative Expenses.
12
               Attorney Fees. Davis Miles McGuire Gardner, PLLC received a $1,500.00 retainer from the
13             Debtor prior to filing. Counsel shall file a separate fee application for payment of its attorney's
               fees and costs incurred in this matter. Upon approval by order of the Court, the Trustee shall pay
14             the firm in accordance with that Court order.
15
          (2) Claims Secured by Real Property.
16
              Select Portfolio Servicing (Deutsche Bank), secured by a first deed of trust on Debtor's primacy
17            residence, shall be paid the prepetition arrearage of$7,596.28 with 0% interest. Regular post-
              petition payments-in the monthly amount of$1,157.70 per the secured creditor's proof of claim-
18            will be made by the Chapter 13 Trustee to the secured creditor through the Plan.

19            Garden Lakes Community Association, secured by a statutory lien on Debtor's primary
              residence, shall have its entire claim classified as an unsecured debt. Upon completion of the Plan,
20            the secured creditor shall release its lien in the real property in accordance with the separate order
              of the Court. Regular post-petition payments in the amount of$60.00 per month will be made by
21
              the Chapter 13 Trustee to the secured creditor through the Plan.
22
          (3) Claims Secured by Personal Property.
23
              Wilshire Commercial Credit, secured by a lien in a 2002 Chevrolet Tahoe, shall be paid a secured
24            claim of$1,818.03 with 4.25% interest. The creditor will receive adequate protection payments of
              $20.00 per month. The balance of the debt shall be classified as unsecured.
25
              Gateway One Lending, secured by a lien in a 2004 Lexus SC400, shall be paid a secured claim of
26            $8,000.00 with 6.0% interest. The creditor will receive adequate protection payments of$87.00 per
              month. The balance of the debt shall be classified as unsecured.
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 Case 2:17-bk-14000-PS           Doc 62      Filed 08/03/18 Entered 08/03/18 14:28:54                 Desc
                                                 Page 2 of 5
              Conn Appliances, Inc., secured by a lien in household goods, shall be paid a secured claim of
              $1,040.00 with 4.25% interest. The creditor will receive adequate protection payments of $10.00
 2            per month. The balance of the debt shall be classified as unsecured.

 3        (4) Unsecured Priority Claims.
 4
             The Internal Revenue Service shall be paid an unsecured priority claim of $1,097.86 with
 5           no interest for prepetition taxes.

 6           The Arizona Department of Revenue shall be paid an unsecured priority claim of
             $1,502.57 with no interest for prepetition taxes.
 7
          (5) Surrendered Property.
 8

 9            Upon confirmation of this Plan or except as otherwise ordered by the Court, bankruptcy stays are
              lifted as to collateral to be surrendered. Such creditor shall receive no distribution until the creditor
IO            timely files a claim or an amended proof of claim that reflects any deficiency balance remaining on
              the claim. Assuming the creditor has an allowed proof of claim, should the creditor fails to file an
11            amended claim consistent with this provision, the Trustee need not make any distributions to that
              creditor. Debtor surrenders the following property:
12
                      Claimant                                  Description
13
                      None.
14
          ( 6) Other Provisions.
15
              None.
16

17
          (7) Unsecured Nonpriority Claims. Claim allowance is determined by § 502 and the Federal Rules of
              Bankruptcy Procedure. Allowed unsecured claims shall be paid pro rata the balance of the
18            payments under the Plan and any unsecured debt balance remaining unpaid upon completion of the
              Plan may be discharged as provided in 11 U.S.C. § 1328.
19
              D.    EFFECTIVE DATE AND VESTING. The effective date of the Plan shall be the date of this
20   Order. Property of the estate vests in the Debtor upon confirmation, subject to the rights of the Trustee 'to
     assert a claim to any additional property of the estate pursuant to 11 U.S.C. § 1306.
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23                                    ORDER SIGNED AND DATED ABOVE

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 Case 2:17-bk-14000-PS             Doc 62    Filed 08/03/18 Entered 08/03/18 14:28:54                   Desc
                                                 Page 3 of 5
      Approved as to Form and Content By:
 2
      DAVIS MILES MCGUIRE GARDNER, PLLC                    STANDING CHAPTER 13 TRUSTEE
 3

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      By:?U         #z/ u::
         Pernell W. McGuire
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         M. Preston Gardner                                     3                           ,
 7       40 E Rio Salado Parkway, Ste 425                       Ph   IX,   ,<\Z 8$Q 12 f{/65 ..
         Tempe, AZ 85281
 8       Attorneys for Debtor
 9

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             The Debtor certifies: All required State and Federal income tax returns have been filed. No domestic
12   support obligation is owed or, if owed, such payments are current since the filing of the Petition.

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     Keith Maurel    11liams
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Case 2:17-bk-14000-PS          Doc 62      Filed 08/03/18 Entered 08/03/18 14:28:54                 Desc
                                               Page 4 of 5
     Approved as to Form and Content By:
 2
      DAVIS MILES MCGUIRE GARDNER, PLLC                   STANDING CHAPTER 13 TRUSTEE
 3

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 5
      By:---------------                                  By:--------------
 6     Pernell W. McGuire                                  Russell Brown
       M. Preston Gardner                                  3838 N. Central Avenue, Suite 800
 7     40 E Rio Salado Parkway, Ste 425                    Phoenix, AZ 85012-1965
       Tempe, AZ 85281
 8       Attorneys for Debtor

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             The Debtor certifies: All required State and Federal income tax returns have been filed. No domestic
12   support obligation is owed or, if owed, such payments are current since the filing of the Petition.

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 Case 2:17-bk-14000-PS          Doc 62      Filed 08/03/18 Entered 08/03/18 14:28:54               Desc
                                                Page 5 of 5
